     Case 2:19-cv-13298-MLCF-MBN Document 20 Filed 05/07/20 Page 1 of 2



                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

 MONICA MITCHELL                                   CIVIL ACTION
 VERSUS                                            NO. 19-13298
 PARISH OF JEFFERSON,                              SECTION: "F" (5)
 ET AL


                                   SCHEDULING ORDER

       A Preliminary Pre-Trial conference was held on May 5, 2020.

       PRESENT:

       For Plaintiff:   Natalie Mitchell and M. Suzanne Montero

       For Defendants: Craig Watson


       Pleadings have been completed. Jurisdiction and venue are established.

        All pre-trial motions, including motions in limine regarding the admissibility of
expert testimony, shall be filed and served in sufficient time to permit hearing thereon
no later than January 20, 2021. Any motions filed in violation of this order shall be
deemed waived unless good cause is shown. All other motions in limine shall be allowed
to be filed up to the time of trial or as otherwise ordered by the Court.

       Counsel shall complete all disclosure of information as follows:

        Depositions for trial use shall be taken and all discovery shall be completed no
later than January 25, 2021.

       Amendments to pleadings, third-party actions, cross- claims, and counter-claims
shall be filed no later than June 5, 2020.

       Counsel adding new parties subsequent to mailing of this Notice shall serve on
each new party a copy of this Minute Entry. Pleadings responsive thereto, when
required, shall be filed within the applicable delays therefor.

       Rule 26 disclosures will be waived in this case.

       Written reports of experts, as defined by Federal Rules of Civil Procedure
26(a)(2)(B), who may be witnesses for Plaintiff fully setting forth all matters about
which they will testify and the basis therefor shall be obtained and delivered to counsel
for Defendant as soon as possible, but in no event later than November 23, 2020.
     Case 2:19-cv-13298-MLCF-MBN Document 20 Filed 05/07/20 Page 2 of 2




       Written reports of experts, as defined by Federal Rules of Civil Procedure
26(a)(2)(B), who may be witnesses for Defendant fully setting forth all matters about
which they will testify and the basis therefor shall be obtained and delivered to counsel
for Plaintiff as soon as possible, but in no event later than December 21, 2020.

         Counsel for the parties shall file in the record and serve upon their opponents a
list of all witnesses who may or will be called to testify at trial, and all exhibits which
may or will be used at trial no later than December 21, 2020.

      The Court will not permit any witness, expert or fact, to testify or any exhibits to
be used unless there has been compliance with this Order as it pertains to the witness
and/or exhibits, without an order to do so issued on motion for good cause shown.

      Settlement possibilities were discussed. A further settlement conference will be
scheduled at any time at the request of any party to this action.

       This case will not involve extensive documentary evidence, depositions or other
discovery. No special discovery limitations beyond those established in the Federal
Rules or Local Rules of this Court are established.

       A final pre-trial conference will be held before the District Judge on
FEBRUARY 22, 2021 at 1:30 p.m. Counsel will be prepared in accordance with the
final Pre-Trial Notice attached.

       Trial will commence on MARCH 8, 2021 at 9:00 a.m. before the District
Judge with a jury. Attorneys are instructed to report for trial no later than 30 minutes
prior to this time. The starting time on the first day of a jury trial may be delayed or
moved up because of jury pooling. Trial is estimated to last 5 days.

       Deadlines, cut-off dates, or other limits fixed herein may only be extended by the
Court upon timely motion filed in compliance with the Local Rules and upon a showing
of good cause. Continuances will not normally be granted. If, however, a continuance is
granted, deadlines and cut off dates will be extended automatically, unless otherwise
ordered by the Court.
